         Case 3:16-cv-00014-AC      Document 1     Filed 01/06/16   Page 1 of 4




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Of Attorneys for Defendants


                            UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON

                                 PORTLAND DIVISION


 JOSEPH LEONETTI, personally and as
 Personal Representative of the Estate of             Case No.
 Holly Leonetti, deceased,
                                               NOTICE OF REMOVAL TO U.S.
               Plaintiff,                      DISTRICT COURT

               v

 PATRICK BRAY, LISA SHIPLEY,
 ANTHONY KOLLIAS, CLINT PIERCE, and
 CLACKAMAS COUNTY, a Political
 Subdivision of the State of Oregon,

               Defendants.



TO:    JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE DISTRICT
       OF OREGON; Administrator of the Circuit Court of the State of Oregon for the
       County of Clackamas; and JAN K. KITCHEL, Attorney for Plaintiff.

       The removing parties: Patrick Bray, Lisa Shipley, Anthony Kollias, Clint Pierce

and Clackamas County, and their undersigned attorney, respectfully show this Court the

following:



Page 1- NOTICE OF REMOVAL TO U.S. DISTRICT COURT
            Case 3:16-cv-00014-AC     Document 1     Filed 01/06/16    Page 2 of 4




       1.      The removing parties: Patrick Bray, Lisa Shipley, Anthony Kollias, Clint

Pierce and Clackamas County, are the Defendants in the above entitled action.

       2.      On December 2, 2015, the above entitled action was commenced against

the Defendants in the Circuit Court of the State of Oregon for Clackamas County and is

now pending in such court with the designation Circuit Court Case No. CV 151200043.

       3.      On December 14, 2015, a copy of the Summons and Complaint in the

above entitled state case was served upon each of the Defendants: Patrick Bray, Lisa

Shipley, Anthony Kollias, Clint Pierce and Clackamas County, by the delivery of copies

of the Summons and Complaint, directed to each of the Defendants, to the Offices of

the Clackamas County Counsel, pursuit to an agreement for the acceptance of service

by counsel for each of the Defendants.

       4.      No further proceedings have occurred in this action in state court.

       5.      Each of the Defendants named in this case agrees that this action should

be removed from state to federal court.

       6.      This notice of removal is filed within 30 days after service of process.

       7.      This Court has original jurisdiction of the above entitled action pursuant to

28 USC § 1331, because it is a suit for damages brought pursuant to 42 USC § 1983

seeking recovery for violations of certain rights of the Plaintiff that are provided for and

guaranteed by the United States Constitution.

       8.      This Court has original jurisdiction of the above entitled action pursuant to

28 USC § 1343, because it is a suit to redress the deprivation, under color of State

regulation, custom or usage, of rights secured by the Constitution of the United States.




Page 2- NOTICE OF REMOVAL TO U.S. DISTRICT COURT
            Case 3:16-cv-00014-AC   Document 1     Filed 01/06/16   Page 3 of 4




       9.      Attached to this Notice are copies of the Complaint and the Summonses

served on the Defendants: Patrick Bray, Lisa Shipley, Anthony Kollias, Clint Pierce and

Clackamas County.

       10.     On the date set forth below, a copy of this Notice was served on the

Plaintiff's attorney. On the same date, a copy of this Notice was filed with the clerk of

the Clackamas County Circuit Court, the state court in which this action was

commenced.

       WHEREFORE, Patrick Bray, Lisa Shipley, Anthony Kollias, Clint Pierce and

Clackamas County request that the above entitled action be removed from the Circuit

Court of the State of Oregon for Clackamas County to the United States District Court

for the District of Oregon.

       DATED this 6th day of January, 2016.

                                            STEPHEN L. MADKOUR
                                            CLACKAMAS COUNTY COUNSEL


                                            s/ Alexander Gordon _____________
                                            Alexander Gordon, OSB No. 822671
                                            Assistant County Counsel
                                            agordon@clackamas.us
                                            Stephen L. Madkour, OSB No. 941091
                                            smadkour@clackamas.us
                                            OF ATTORNEYS FOR DEFENDANTS




Page 3- NOTICE OF REMOVAL TO U.S. DISTRICT COURT
        Case 3:16-cv-00014-AC       Document 1     Filed 01/06/16   Page 4 of 4




                             CERTIFICATE OF SERVICE

      I certify that on this date I served or caused to be served a true and correct copy

of the foregoing NOTICE OF REMOVAL on the party listed below as follows:

Jan K. Kitchel
Cable Huston LLP
1001 SW Fifth Avenue
Suite 2000
Portland, Oregon 97204-1136
       Attorney for Plaintiff

             [X]    by MAILING a full, true and correct copy thereof in a sealed,
                    postage-paid envelope, addressed as shown above, and deposited
                    with the U.S. Postal Service at Portland, Oregon, on the date set
                    forth below;

             [ ]    by causing a full, true and correct copy thereof to be HAND-
                    DELIVERED to the party the date set forth below;

             [ X]   by EMAILING a full, true and correct copy thereof to the party, at
                    the email address shown above, which is the last-known email
                    address for the party’s office, on the date set forth below;

             [ ]    by FAXING a full, true and correct copy thereof to the party, at the
                    fax number shown above, which is the last-known fax number for
                    the party’s office, on the date set forth below.


      Dated this 6th day of January, 2016.


                                              STEPHEN L. MADKOUR
                                              CLACKAMAS COUNTY COUNSEL
                                              s/ Alexander Gordon________________
                                              Alexander Gordon, OSB No. 822671
                                              Assistant County Counsel
                                              agordon@clackamas.us
                                              OF ATTORNEYS FOR DEFENDANTS




Page 1- CERTIFICATE OF SERVICE
